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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
 _________________________________________
                                           )
JULIANA GOMEZ-CRUZ,                        )
                                           )
      Plaintiff,                           )
                                           )
             v.                            ) Case No. 18-cv-1145 (APM)
                                           )
CORNERSTONE CAFÉ, INC. et al.,             )
                                           )
      Defendants.                          )
_________________________________________ )

                                        MEMORANDUM OPINION

I.       INTRODUCTION

         Plaintiff Juliana Gomez-Cruz worked at Cornerstone Café in Washington, D.C. for

13 years before her termination in November 2017. She brought this action against the cafe and

its owners, Dae Woong Kim and Kookhee Park (collectively, “Defendants”), to recover the

statutorily required minimum and overtime wages that she alleges were not paid during her

employment. Defendants were properly served but failed to respond to Plaintiff’s Complaint, after

which Plaintiff obtained an entry of default. Plaintiff then moved for default judgment, seeking

the relief requested in her Complaint. For the reasons discussed below, the court grants Plaintiff’s

Motion for Default Judgment.

II.      BACKGROUND

         A.       Factual Background 1

         Plaintiff Juliana Gomez-Cruz worked for Defendants Dae Woong Kim and Kookhee Park

at their buffet and carryout restaurant, Cornerstone Café, from October 2004 through November



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 Because Defendants have not filed a response, the Court treats the Complaint’s factual allegations as admitted, except
as to the amount of damages. Fed. R. Civ. P. 8(b)(6); Int’l Painters & Allied Trades Indus. Pension Fund v. R.W.
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2017. See Compl., ECF No. 1 [hereinafter Compl.] ¶¶ 2–7, 10. Defendants served as joint owner-

managers of the café throughout Plaintiff’s employment and were the “ultimate authorities” as to

Plaintiff’s supervision, work schedule, and conditions of employment. Id. ¶ 6. Plaintiff’s

responsibilities at the café included food preparation, taking customer orders, washing dishes and

cleaning, and providing customer service. Id. ¶ 21. Each week, Plaintiff typically worked Monday

through Friday between 5:45 a.m. to 3:30 p.m., without taking a break of more than five minutes.

Id. ¶¶ 23–24. In all, Plaintiff “typically and customarily worked at or about forty-six and one-half

hours per week.” Mot. for Default J., ECF No. 13 [hereinafter Pl.’s Mot.], Aff. of Juliana Gomez-

Cruz, ECF No. 13-1 [hereinafter Pl.’s Aff.], ¶ 9.

        During Plaintiff’s employment, Defendants maintained no timekeeping system,

Compl. ¶ 22; nor did they provide Plaintiff with a paystub or report reflecting the hours she

worked, id. ¶ 27. Defendants also purportedly withheld a certain portion of Plaintiff’s gross pay

for taxes. Id. ¶ 25. Plaintiff approximates that she “worked at or about [45 to 48] hours per week.”

See id. ¶¶ 12–13.

        For her labor, Defendants paid Plaintiff a flat weekly salary of $400 from October 2004

through June 2008, $420 from July 2008 through September 2015, and $440 from October 2015

through the date of her termination in November 2017. Id. ¶¶ 15–17. At no point during her

employment did Defendants discuss an hourly rate or terms of overtime work and compensation

with Plaintiff. Id. ¶¶ 18–20. Plaintiff received compensation on a weekly basis by both cash and

check, with no payroll reporting system reflecting the time she worked or any federal or state

deductions. Id. ¶¶ 25–27.




Amrine Drywall Co., 239 F. Supp. 2d 26, 30 (D.D.C. 2002) (citing Trans World Airlines, Inc. v. Hughes, 449 F.2d 51,
63 (2d Cir. 1971), rev’d on other grounds, 409 U.S. 363 (1973)).

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       B.      Procedural Background

       On May 15, 2018, Plaintiff filed this action against Defendants alleging that they failed to

pay her overtime and minimum wages during various periods of her employment in violation of

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq., the D.C. Minimum Wage Act

Revision Act of 1992 (“DCMWA”), D.C. Code §§ 32-1001 et seq., and the D.C. Wage Payment

and Wage Collection Act (“DCWPA”), D.C. Code §§ 32-1301 et seq. See generally Compl. In

support of these claims, Plaintiff alleges that Defendants misinformed her about her rights under

federal and District of Columbia law and failed to post any notice of employee rights within the

café. Compl. ¶¶ 29–33.

       On August 6, 2018, after receiving no proof of service from Plaintiff, the court issued an

Order to Show Cause as to why the case should not be dismissed for failure to prosecute under

Federal Rule of Civil Procedure 4(m) and Local Civil Rule 83.23. See Order to Show Cause,

ECF No. 3; Fed. R. Civ. P. 4(c). In response, on August 13, 2018, Plaintiff filed three affidavits

showing that she properly served Defendants with a copy of the Complaint and a summons on

August 13, 2018. See Affs. of Service, ECF Nos. 4–6. Despite being served, Defendants did not

answer the Complaint or otherwise appear.

       On September 18, 2018, the court issued a second Order to Show Cause, which directed

Plaintiff to seek an entry of default and move for entry of default judgment or risk dismissal of the

case. See Order to Show Cause, ECF No.7. Plaintiff filed an Affidavit for Default on October 11,

2018, see Aff. For Default, ECF No. 8, and the Clerk of the Court entered a default against

Defendants, see Clerk’s Entry of Default, ECF No. 10. Plaintiff, however, failed to move for

default judgment as directed and so the court dismissed the action, without prejudice, for want of

prosecution on November 20, 2018. See Order, ECF No. 11.



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       Plaintiff subsequently filed a Motion for Reconsideration and for an Extension of Time to

File a Motion for Default Judgment, see Pl.’s Mot. for Reconsideration, ECF No. 12, which the

court granted on December 3, 2018, see Minute Order, Dec. 3, 2018. In her Motion for Default

Judgment, Plaintiff seeks entry of judgment against Defendants in the amount of $16,272.13 in

unpaid wages plus three times that sum in liquidated damages, for a total award of $65,088.52.

Pl.’s Mot. at 4–6.

III.   LEGAL STANDARD

       A party seeking a default judgment must follow the two-step process set forth in Rule 55

of the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 55. A plaintiff must first secure an

entry of default from the Clerk of the Court and then move for entry of a default judgment. Id.

The entry of a “default judgment must normally be viewed as available only when the adversary

process has been halted because of an essentially unresponsive party.” Jackson v. Beech, 636 F.2d

831, 836 (D.C. Cir. 1980) (citing H. F. Livermore Corp. v. Aktiengesellschaft Gebruder Loepfe,

432 F.2d 689, 691 (D.C. Cir. 1970)). Although a default judgment establishes liability, the court

is required to “make an independent determination of the sum to be awarded,” “unless the amount

of damages is certain.” Boland v. Yoccabel Const. Co., 293 F.R.D. 13, 17 (D.D.C. 2013) (citing

Adkins v. Teseo, 180 F. Supp. 2d 15, 17 (D.D.C. 2001)). To determine the appropriate amount of

damages, the court may hold a hearing or it may “rely on detailed affidavits or documentary

evidence.” Boland v. Elite Terrazzo Flooring, Inc., 763 F. Supp. 2d 64, 68 (D.D.C. 2011).

A plaintiff must prove damages to a “reasonable certainty.” Id.




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IV.      DISCUSSION

         A.       Whether Entry of Default Judgment is Warranted

         The court must first consider whether entry of a default judgment is warranted. 2

Serv. Employees Int’l Union Nat’l Indus. Pension Fund v. Liberty House Nursing Home of Jersey

City, Inc., 232 F. Supp. 3d 69, 76 (D.D.C. 2017). When there is a complete “absence of any request

to set aside the default or suggestion by the defendant that it has a meritorious defense, it is clear

that the standard for default judgment has been satisfied.” Serv. Employees Int’l Union Nat’l Indus.

Pension Fund v. Artharee, 942 F.Supp.2d 27, 30 (D.D.C. 2013). Here, Defendants have not

answered Plaintiff’s Complaint or otherwise defended themselves in any way. See generally

Docket, Case No. 18-cv-1145. Plaintiff therefore meets the standard for entry of a default

judgment.

         Even though a defendant has not appeared, the court may still deny a motion for default

judgment “where the allegations of the complaint, even if true, are legally insufficient to make out

a claim.” Gutierrez v. Berg Contracting Inc., No. CIV. A. 99-3044-TAF, 2000 WL 331721, at *2

(D.D.C. Mar. 20, 2000); see also PT (Persero) Merpati Nusantara Airlines v. Thirdstone Aircraft

Leasing Grp., Inc., 246 F.R.D. 17, 18 (D.D.C. 2007) (“A default judgment establishes the

defaulting party’s liability for every well-plead allegation in the complaint.”) (emphasis added).

The court here has no concern about the sufficiency of the pleading. Plaintiff represents that she

worked over 40 hours per week on average, Compl. ¶ 13, yet Defendants failed to pay her at least

the minimum wage and for the hours she worked overtime, Compl. ¶¶ 13–21. She also details the




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 The court has assured itself that it has jurisdiction over this action based on the FLSA claim. See 28 U.S.C. § 1331.
The court exercises supplemental jurisdiction over Plaintiff’s D.C.-law claims pursuant to 28 U.S.C. § 1367.
See Robinson v. CAS 4000 Kansas LLC, 5 F. Supp. 3d 108, 111 (D.D.C. 2013). Venue is also proper as Plaintiff
alleges the events giving rise to her claims occurred in the District of Columbia. See generally Compl.; see also
28 U.S.C. § 1391(b)(2).

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wages she received from May 2015 through her termination in November 2017; the average hours

she worked during that date range; and the amount she is believes she is owed during each pay

period. See Pl.’s Mot. at 4. Finally, to establish their responsibility to pay her wages, Plaintiff

alleges that Defendants were each an “owner, agent, and/or principal of Cornerstone Café” who

“supervis[ed] and controll[ed] Plaintiff’s work schedules and conditions of employment” during

the tenure of her employment. Compl. ¶¶ 5–6. These allegations are sufficient, if assumed true,

to establish Defendants’ liability under federal and local wage laws.

        B.      Minimum Wage and Overtime Violations

        Satisfied that the Complaint sets forth plausible wage claims, the court turns to determining

the sum of the award. Plaintiff must provide information “sufficient to establish an amount and

extent of work and wages” owed by Defendants. Arias v. U.S. Serv. Indus., Inc., 80 F.3d 509, 512

(D.C. Cir. 1996). Plaintiff has done so.

                1.         Unpaid Wages

        Plaintiff’s affidavit contains a table that summarizes the approximate hours she worked

and wages she received from May 2015 through November 2017. Pl.’s Aff. ¶ 17. The table is

reproduced below.

               TABLE 1: Total Minimum Wage & Overtime Compensation Due
                                   Average                        Min      Wage     OT        Total     Total
                                   Hours                          Wage     Owed     Wages     Wages     Wages
                                   Worked    DC         Regular   Owed     Per OT   Owed      Owed      Owed for
               Total     Weekly    Per       Minimum    Hourly    Per      Hour     Per       Per       Work
 Date Range    Weeks     Salary    Week      Wage       Rate      Week     Worked   Week      Week      Period
 May 2015 –
 June 2015           6   $420.00      46.5      $9.50   $10.50     $0.00   $15.75   $102.38   $102.38     $614.25
 July 2015 –
 September
 2015             13     $420.00      46.5     $10.50   $10.50     $0.00   $15.75   $102.38   $102.38    $1,330.88
 October
 2015 – June
 2016             39     $440.00      46.5     $10.50   $11.00     $0.00   $16.50   $107.25   $107.25    $4,182.75
 July 2016 –
 June 2017        52     $440.00      46.5     $11.50   $11.00    $20.00   $17.25   $122.13   $132.13    $6,870.50
 July 2017 –
 November 7,
 2017             18     $440.00      46.5     $12.50   $11.00    $60.00   $18.75   $121.88   $181.88    $3,273.75

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                                                                                    TOTAL WAGES
                                                                                       OWED           $16,272.13

           In the first two rows of the table, Plaintiff represents that from May 2015 through

September 2015, she worked 46.5 hours per week, but was compensated for only the first 40 hours

of each of those weeks at the rate of $10.50 per hour ($420.00/40 hours per week). During this

period, Plaintiff’s hourly pay for the first 40 hours per week complied with both federal and District

of Columbia minimum wage laws. 3 Still, Plaintiff was not paid for any time worked beyond

40 hours. Plaintiff therefore is entitled to overtime compensation at a rate of $15.75 ($10.50 per

hour x 1.5) for the 6.5 extra hours worked per week, for a total of 19 weeks. As calculated below,

the court agrees with Plaintiff that she is owed $1,945.13 for that period. See Table 2; Pl.’s Aff. ¶

17.

                  TABLE 2: May 2015 to September 2015 Compensation Breakdown
                          Average        Min Wage    Wage Owed      OT Wages    Total Wages
                  Total   Hours Worked   Owed Per    Per OT         Owed Per    Owed Per      Total Wages Owed
    Date Range    Weeks   Overtime       Week        Worked         Week        Week          for Work Period
    May 2015 –
    June 2015         6            6.5       $0.00         $15.75     $102.38       $102.38              $614.25
    July 2015 –
    September
    2015             13            6.5       $0.00         $15.75     $102.38       $102.38            $1,330.88
                                                                                              TOTAL    $1,945.13

           Plaintiff also represents that from October 2015 through to her termination in November

2017, she was paid $11.00 per hour for the first 40 hours of work each week, but not compensated

at all for overtime work. Id. Calculating unpaid wages for this period is slightly more complex

because the minimum wage in the District of Columbia rose first to $11.50 per hour on July, 1

2016, and rose again to $12.50 as of July 1, 2017, while Plaintiff’s compensation remained

unchanged at $11.00 per hour. Compare Pl.’s Aff. ¶ 17 with D.C. Code Ann. § 32-

1003(a)(5)(A)(i)–(ii). Thus, Plaintiff’s compensation was 50 cents below the District minimum


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 The federal minimum wage at the time was $7.25 per hour, while D.C. required a minimum wage of $9.50 per hour
until July 1, 2015, when the minimum wage increased to $10.50 per hour. 29 U.S.C. § 206(a)(1); D.C. Code Ann.
§ 32-1003(a)(3)–(4).

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wage of $11.50 per hour from July 2016 to June 2017, and $1.50 below the minimum wage of

$12.50 from July 2017 to November 2017. Pl.’s Aff. ¶ 17. When calculating the difference in

Plaintiff’s pay and the prevailing minimum wage, as well as Plaintiff’s uncompensated overtime,

Plaintiff has established that she is entitled to a total of $14,327 for the period from October 2015

to November 2017. See Table 3; Pl.’s Aff. ¶ 17.

                  TABLE 3: October 2015 to November 2017 Wage Breakdown
                                                         Min                 OT
                         Average                        Wage      Wage     Wages       Total
                          Hours         DC    Regular   Owed      Owed     Owed       Wages      Total Wages
                Total    Worked    Minimum    Hourly     Per     Per OT      Per    Owed Per   Owed for Work
 Date Range    Weeks    Overtime      Wage      Rate    Week     Worked    Week       Week             Period
 October
 2015 – June
 2016             39         6.5     $10.50   $11.00     $0.00   $16.50   $107.25    $107.25        $4,182.75
 July 2016 –
 June 2017        52         6.5     $11.50   $11.00    $20.00   $17.25   $122.13    $132.13        $6,870.50
 July 2017 –
 November
 7, 2017          18        6.50     $12.50   $11.00    $60.00   $18.75   $121.88    $181.88        $3,273.75
                                                                                    TOTAL          $14,327.00

                                               *        *        *

        The court therefore finds that, for the period of May 2015 to November 2017, Defendants

owe Plaintiff a total of $16,272.13 in unpaid wages and overtime pay.

                 2.       Liquidated damages

        In addition to unpaid wages, Plaintiff seeks liquidated damages. See Pl.’s Mot. at 4–6.

Both federal and District of Columbia law allow for an award of liquidated damages against an

employer who fails to comply with statutory wage requirements. 29 U.S.C. § 216(b); D.C. Code

§ 32-1012(b)(1). The FLSA provides for the “payment of wages lost and an additional equal

amount as liquidated damages.” 29 U.S.C. § 216(b) (emphasis added). District of Columbia law,

by contrast, contains a more generous liquidated damages provision. Under the DCWPA, a

plaintiff can recover an award of liquidated damages in the amount of either “10 per centum of the

unpaid wages for each working day during which such failure shall continue after the day upon


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which payment is hereunder required, or an amount equal to treble the unpaid wages, whichever

is smaller.” D.C. Code § 32-1303(4) (emphasis added). The court lacks sufficient record evidence

to make the first of these calculations. Absent actual payroll records that reflect the dates of work

and the amounts paid, the court cannot determine the “10 per centum” sum without serious

guesswork. So, the court will apply treble damages, resulting in a liquidated damages award of

$48,816.39 ($16,272.13 x 3). See Ventura v. L.A. Howard Constr. Co., 134 F. Supp. 3d 99, 104

(D.D.C. 2015) (stating that where “[District of Columbia] law is more generous to employees . . .

the Court will first assess [liquidated] damages under D.C. law and will not award a duplicative

amount pursuant to federal law”) (citing 29 C.F.R. § 778.5).

       Accordingly, summing the unpaid wages and the liquated damages, the court awards

Plaintiff total damages in the amount of $65,088.52.

V.     CONCLUSION

       For the reasons set forth above, Plaintiff’s Motion for Default Judgment is granted. The

court finds that Plaintiff is entitled to $65,088.52 in damages. A separate order accompanies this

Memorandum Opinion.

       The court will consider an attorney’s fees and costs award after the court receives more

detailed information supporting the request for fees and costs.




Dated: May 3, 2019                                     Amit P. Mehta
                                                       United States District Judge




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